           Case 19-70054-pmb                       Doc 1             Filed 12/16/19 Entered 12/16/19 09:13:47                                         Desc
                                                                    Petition Page 1 of 56
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:
 Northern District of Georgia                                                                     ""   r               0.
                                                                                           L, I        0         J1       •
 Case number (If known):                                          Chapter you are filing under:
                                                                    Chapter 7
                                                                  O Chapter 11


 19-70054                                                         U Chapter 12
                                                                  O Chapter 13                                           kjil           \—dij Check if this is an
                                                                                                                                              amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                            12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


           Identify Yourself
                                              .         .                                                                                    e Only in a Joint Case
                                     About Debtor 1:
1. Your full name
   Write the name that is on your    JAMES
   government-issued picture
                                     First name                                                            First name
   identification (for example,
   your driver's license or          G.
   passport).                        Middle name                                                           Middle name
                                     HUGHES
   Bring your picture
   identification to your meeting    Last name                                                             Last name
   with the trustee.
                                     Suffix (Sr., Jr., II, III)                                            Suffix (Sr., Jr., II, III)




2. All other names you
   have used in the last 8           First name                                                            First name
   years
   Include your married or           Middle name                                                           Middle name
   maiden names.
                                     Last name                                                             Last name


                                     First name                                                            First name


                                     Middle name                                                           Middle name


                                     Last name                                                             Last name




3. Only the last 4 digits of
                                                                                                           XXX       — XX —
   your Social Security
   number or federal                 OR                                                                    OR
   Individual Taxpayer
                                     9)0: — XX —
   Identification number
   (ITIN)

Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
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            JAMES              G.                       HUGHES                                       Case number (if known)
Debtor 1
             First Name   Middle Name                Last Name




                                            out Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
   and Employer                               I have not used any business names or EINs.                  0 I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                     Business name                                                      Business name
    Include trade names and
    doing business as names             Business name                                                      Business name



                                        EIN                                                                EIN


                                        EIN                                                                EIN




5. Where you live                                                                                          If Debtor 2 lives at a different address:


                                        137 TWIN HILL ROAD
                                        Number  Street                                                     Number          Street




                                        AUSTELL                                  GA       30168
                                        City                                    State     ZIP Code         City                                     State     ZIP Code

                                        COBB
                                        County                                                             County

                                        If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                        any notices to this mailing address.



                                        Number          Street                                             Number          Street


                                        P.O. Box                                                           P.O. Box


                                        City                                    State     ZIP Code         City                                     State     ZIP Code




6. Why you are choosing                 Check one:                                                         Check one:
   this district to file for
   bankruptcy
                                        0      Over the last 180 days before filing this petition,         0 Over the last 180 days before filing this petition,
                                               I have lived in this district longer than in any                   I have lived in this district longer than in any
                                               other district.                                                    other district.

                                        0 I have another reason. Explain.                                  CI I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                            (See 28 U.S.C. § 1408.)




  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                          page 2
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 Debtor 1    JAMES               G.                    HUGHES                                    Case number (if known)
              First Name   Middle Name             Last Name




 Part 2:    Tell the Court About Your Bankruptcy Case


: 7. The chapter of the                  Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
    Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
    are choosing to file
                                         O Chapter 7
    under
                                             Chapter 11

                                         •   Chapte;12
                                         O Chapter 13


 8. How you will pay the fee             U I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                           local court for more details about how you may pay. Typically, if you are paying the fee
                                           yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                           submitting your payment on your behalf, your attorney may pay with a credit card or check
                                           with a pre-printed address.

                                         WI I need to pay the fee in installments. If you choose this option, sign and attach the
                                            Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                         •   I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                             By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                             less than 150% of the official poverty line that applies to your family size and you are unable to
                                             pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                             Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


 s. Have you filed for                   U No
    bankruptcy within the
    last 8 years?                            Yes. District                               When                        Case number
                                                                                                MM! DD / YYYY
                                                   Diftrict                              When                        Case number
                                                                                                MM! DD / YYYY
                                                   District                              When                        Case number
                                                                                                MM! DD / YYYY



 10. Are any bankruptcy                  U No
     cases pending or being
     filed by a spouse who is                Yes. Debtor                                                             Relationship to you
     not filing this case with                     District                              When                        Case number, if known
     you, or by a business                                                                      MM/DD / YYYY
     partner, or by an
     affiliate?
                                                   Debtor                                                            Relationship to you
                                                   District                              When                        Case number, if known
                                                                                                MM / DD / YYYY



     Do you rent your                    U No. Go to line 12.
     residence?                          la Yes. Has your landlord obtained an eviction judgment against you?

                                                   •    No. Go to line 12.
                                                    O Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                      part of this bankruptcy petition.




   Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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 Debtor 1       JAMES                  G.                    HUGHES                                      Case number of known)
               First Name        Media Name             Last Name




 Part 3:     Report About Any Businesses You Own as a Sole Proprietor


 12. Are you a sole proprietor                WI No. Go to Part 4.
     of any full- or part-time
     business?                                CI Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an
                                                       Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or
    LLC.                                               Number       Street

    If you have more than one
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.
                                                        City                                                     State           ZIP Code


                                                       Check the appropriate box to describe your business:
                                                       O Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                       O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       O Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                       CI   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            .None of the above


 13. Are you filing under                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
     Chapter 11 of the                        can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
     Bankruptcy Code and                      most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                              any of these documents do not exist, follow the'procedure in 11 U.S.C. § 1116(1)(B).
     are you a small business
     debtor?
                                              0 No.    I am not filing under Chapter 11.
     For a definition of small
     business debtor, see                     0 No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
     11 U.S.C. § 101(51D).                             the Bankruptcy Code.

                                              0 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                       Bankruptcy Code.


 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


• 14. Do you own or have any                  123 No
      property that poses or is
      alleged to pose a threat                0 Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                        If immediate attention is needed, why is it needed?
      immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?
                                                                                  Number        Street




                                                                                  City                                               State   ZIP Code


   Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                   page 4
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Debtor 1     JAMES                   G.                HUGHES                                          Case number (if known)
             First Name     Middle Name            Last Name




Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                          About Debtor 1:                                                        ..:Qtit':P:ebt,0t'.Z(Sto.rotts*OrilVj. 0 Joint Case):
ie. Tell the court whether
   you have received a
   briefing about credit                  You must check one:                                                 You must check one:
   counseling.
                                             I received a briefing from an approved credit                        I received a briefing from an approved credit
                                             counseling agency within the 180 days before I                       counseling agency within the 180 days before I
   The law requires that you                 filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
   receive a briefing about credit           certificate of completion.                                           certificate of completion.
   counseling before you file for
                                             Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
   bankruptcy. You must
                                             plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you                 I received a briefing from an approved credit                        I received a briefing from an approved credit
   cannot do so, you are not
                                             counseling agency within the 180 days before I                       counseling agency within the 180 days before I
   eligible to file.                         filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                             certificate of completion.                                           certificate of completion.
   If you file anyway, the court
                                             Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                             you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
   will lose whatever filing fee
                                             plan, if any.                                                        plan, if any.
   you paid, and your creditors
   can begin collection activities           I certify that I asked for credit counseling                         I certify that I asked for credit counseling
   again.                                    services from an approved agency, but was                            services from an approved agency, but was
                                             unable to obtain those services during the 7                         unable to obtain those services during the 7
                                             days after I made my request, and exigent                            days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                             of the requirement.                                                  of the requirement.
                                             To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                             requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                             what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                             you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                             bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                             required you to file this case.                                      required you to file this case.
                                             Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                             dissatisfied with your reasons for. not receiving a                  dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                             If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved                        You must file a certificate from the approved
                                             agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                             may be dismissed.                                                    may be dismissed.
                                             Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                             only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                             days.                                                                days.

                                             I am not required to receive a briefing about                        I am not required to receive a briefing about
                                             credit counseling because of:                                        credit counseling because of:

                                             O Incapacity. I have a mental illness or a mental                     0 Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me                                              deficiency that makes me
                                                                incapable of realizing or making                                      incapable of realizing or making
                                                                rational decisions about finances.                                    rational decisions about finances.
                                             O Disability.      My physical disability causes me                   0 Disability.      My physical disability causes me
                                                                to be unable to participate in a                                      to be unable to participate in a
                                                                briefing in person, by phone, or                                      briefing in person, by phone, or
                                                                through the internet, even after I                                    through the Internet, even after I
                                                                reasonably tried to do so.                                            reasonably tried to do so.
                                             O Active duty. I am currently on active military                      0 Active duty.     I am currently on active military
                                                                duty in a military combat zone.                                       dUty in a military combat zone.
                                             If you believe you are not required to receive a                     If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                            page 5
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Debtor 1      JAMES              G.                    HUGHES                                      Case number (If known)
             First Name   Middle Name              Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                        16a. Are your debts primarily consumer debts? Consumer debts are defined In 11 U.S.C. § 101(8)
16. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
    you have?
                                             •    No°Go to line 16b.
                                             •    Yes. Go to line 17.
                                        16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                             O No. Go to line 16c.
                                             CI Yes. Go to line 17.
                                        16c. State the type of debts you owe that are not consumer debts or business debts.



17.Are you filing under
   Chapter 7?                           0 No. I am not filing under Chapter 7. Go to line 18.
   Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
   any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
   excluded and                                   10 No
   administrative expenses
   are paid that funds will be                    0 Yes
   available for distribution
   to unsecured creditors?

18. How many creditors do                  1-49                                 D 1,000-5,000                               0 25,001-50,000
    you estimate that you               0 50-99                                 0 5,001-10,000                              0 50,001-100,000
    owe?                                0 100-199                               0 10,001-25,000                             0 More than 100,000
                                        0 200-999
19.How much do you                         $0-$50,000                              $1,000,001-$10 million                      $500,000,001-$1 billion
   estimate your assets to                 $50,001-$100,000                        $10,000,001-$50 million                  0 $1,000,000,001-510 billion
   be worth?                               $100,0014500,000                        $50,000,001-$100 million                 0 $10,000,000,001450 billion
                                           $500,001-$1 million                     $100,000,001-$500 million                0 More than $50 billion
20. How much do you                       $0-$50,000                               $1,000,001-$10 million                      $500,000,001-$1 billion
    estimate your liabilities             $50,001-$100,000                         $10,000,001-$50 million                  0 $1,000,000,001-510 billion
    to be?                              0 $100,001-$500,000                        $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million                      $100,000,001-$500 million                CI More than $50 billion
Part 7:    Sign Below

                                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                 correct.
                                        If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                        of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                        under Chapter 7.
                                        If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                        this document, I have obtained and read the notice required by 11 U.S.C. g 342(b).
                                        I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                        I understand making a f e statement, concealing property, or obtaining money or property by fraud in connection
                                        with a ba • ptcy as an res It-irrfirres up to $250,000, or imprisonment for up to 20 years, or both.
                                        18U. . . §§ 15 1 ,          ,and 3571.



                                           Signat                                                           Signature of Debtor 2

                                           Executed o                                                       Executed on
                                                               MM I DD / YYYY                                               MM / DD   / YYYY


  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                      page 6
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 Debtor 1     JAMES              G.                 HUGHES                                  Case number (i/mown)
              First Name   Middle Name          Last Name




  For you if you are filing this         The law allows you, as an individual, to represent yourself in bankruptcy court, but you
  bankruptcy without an                  should understand that many people find it extremely difficult to represent
! attorney                               themselves successfully. Because bankruptcy has long-term financial and legal
                                         consequences, you are strongly urged to hire a qualified attorney.
  If you are represented by
I an attorney, you do not                To be successful, you must correctly file and handle your bankruptcy case. The rules are very
! need to file this page.                technical, and a mistake or inaction may affect your rights. For example, your case may be
                                         dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                         hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                         firm if your case is selected for audit. If that happens, you could lose your right to file another
                                         case, or you may lose protections, including the benefit of the automatic stay.

                                         You must list all your property and debts in the schedules that you are required to file with the
                                         court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                         in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                         property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                         also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                         case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                         cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                         Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                         If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                         hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                         successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                         Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                         be familiar with any state exemption laws that apply.

                                         Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                         consequences?
                                         Li No
                                         •   Yes

                                         Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                         inaccurate or incomplete, you could be fined or imprisoned?
                                         LI No
                                         O Yes

                                         Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                         IA No
                                         O Yes. Name of Person
                                                Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                         By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                         have read and under ood this notice, and I am aware that filing a bankruptcy case without an
                                         attornea             me to lose my rights or property if I do not properly handle the case.




                                                                                                     Signature of Debtor 2

                                         Date                                                        Date
                                                            MM/DD   / YYYY                                            MM! DD / YYYY

                                         Contact phone                                               Contact phone

                                         Cell phone                                                  Cell phone

                                         Email address                                               Email address



   Official Form 101                            Voluntary Petition for individuals Filing for Bankruptcy                               page 8
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  Fill in this information to identify your case:


  Debtor 1          JAMES                            G.                   HUGHES
                       First Name              Middle Name               Last Name

  Debtor 2
  (Spouse, If filing) First Name               Middle Name               Lad t Name


  United States Bankruptcy Court for the: Northern District of Georgia

   Case number
   (If known)                                                                                                                      Check if this is an
                                                                                                                                   amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                               04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


                  Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

       IA Married
       0    Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?
         No
       D Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                                                                 Dates Debtor
                                                                 lived there                                                        11;:iedSthD:rbet°r   2

                                                                                      0   Same as Debtor 1                          0   Same as Debtor 1

                                                                 From                                                                   From
                Number              Street                                                Number Street
                                                                 To                                                                     To




                City                         State ZIP Code                               City                  State ZIP Code

                                                                                      0   Same as Debtor 1                          0   Same as Debtor 1

                                                                 From                                                                   From
                Number              Street                                                Number Street
                                                                 To                                                                     To




                City                         State ZIP Code                               City                  State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories incluLe Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       laf No
       O     Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




   Part 2: Explain the Sources of Your Income

Official Form 107                               Statement of Financial Affairs for individuals Filing for Bankruptcy                      page 1
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Debtor 1        JAMES                            G.                           HUGHES                        Case number (if known)
                Fest Name       Middle Name           Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.



                                                                 Sovi=o0o Of Income         Gross Income              Sources f Income                 naotne'f.•
                                                               :-Check all that apply,      •before deductions and    Check all that apply      before deductions and •
                                                                                  •

                                                                 RI Wages, commissions,                                O Wages, commissions,
            From January 1 of current year until                                                         56000.00
                                                                    bonuses, tips                                        bonuses, tips
            the date you filed for bankruptcy:
                 ^
                                                                 O Operating a business                                O Operating a business


            For last calendar year:
                                                                     Wages, commissions,                               LI Wages, commissions,
                                                                     bonuses, tips                       45000.00        bonuses, tips
            (January 1 to Deceml'er 31 2018                )     0   Operating a business                              O Operating a business
                                       wre


            For the calendar year before that:
                                                                 0   Wages, commissions,                               O Wages, commissions,
                                                                     bonuses, tips                                       bonuses, tips
            (January 1 to December 31,2017                 ) 0       Operating a business                              O Operating a business



  5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
     0     Yes. Fill in the details.



                                                                 SOUrtift3, of Incom
                                                                 De. Gribti
                                                                                             before cl,edutiph                                  (before deduct
                                                                                                 ,:„..


             From January 1 of current year until
             the date you filed for bankruptcy:




             For last calendar year:
             (January I to December 31,2018           )
                                              YYYY




             For the calendar year before that:
             (January1 to December 31,2017            )
                                      wyY




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 2
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Debtor 1    JAMES                                   G.                  HUGHES                  Case number (ffknown)
             First Name       Middle Name            Last Name




1=1         List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     O No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
           "incurred by an individual primarily for a personal, family, or household purpose."
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

             O No. Go to line 7.

             O Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                    total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                    child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     O Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

             Ul No. Go to line 7.

             O Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                    creditor. Do not include payments for domestic support obligations, such as child support and
                    alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                                                               ount you still owe   11110911*11,4frOint for.




                     Creditors Name
                                                                                                                                    0 Mortgage
                                                                                                                                    0 Car
                     Number   Street                                                                                                0 Credit card
                                                                                                                                    0 Loan repayment
                                                                                                                                    0 Suppliers or vendors
                     City                   State         ZIP Code                                                                  El Other


                                                                                                                                     0 Mortgage
                     Creditors Name
                                                                                                                                     0 Car
                     Number   Street
                                                                                                                                     0 Credit card
                                                                                                                                     0 Loan repayment
                                                                                                                                        Suppliers or vendors

                     City                   State         ZIP Code
                                                                                                                                     0 Other


                                                                                                                                     0 Mortgage
                     Creditors Name
                                                                                                                                        Car

                     Number   Street
                                                                                                                                    D Credit card
                                                                                                                                    0 Loan repayment
                                                                                                                                    0 Suppliers or vendors
                                                                                                                                        Other
                     City                   State         ZIP Code




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Debtor 1        JAMES                                   G.                  HUGHES                     Case number (If known)
                   Fee( Name       Middle Name               Ladt Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

           No
     0     Yes. List all payments to an insider.




            Insider's Name



            Number       Street




            City                                 State       ZIP Code




            Insider's Name


            Number        Street




            City                                 State       ZIP Code


  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     21 No
     0     Yes. List all payments that benefited an insider.
                                                                           Dates of     Total amount       Amount you stIll     Reason forth
                                                                           payment      pelt'              owe                  Include creditor's name


             Insider's Name



             Number       Street




             City                                 State      ZIP Code




             Insider's Name



             Number       Street




                                                 _Stei.ta     ZIP Code




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4
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Debtor 1       JAMES                                     G.                HUGHES                          Case number (If known)
                First Name         Middle Name            Last Name




               Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     LI No
     g     Yes. Fill in the details.
                                                                                                                                                        tatus of the cas
                                                               !CIVIL
                                                                                                    Magistrate Court Of Cobb
            Case titie VIKASKUMAR PATEL                        1                                                                                    •     Pending
                                                                                                    Court Name
                                                                                                                                                    O On appeal
            VS. JAMES HUGHES                                                                        32 Waddell Street
                                                                                                    Number     Street                               O Concluded

            Case number                                                                             Mariettaga                       GA     30090
                                                                                                    City                     State    ZIP Code




            Case title                                                                              Court Name
                                                                                                                                                    O Pending
                                                                                                                                                    O On appeal
                                                                                                    Number     Street                               O Concluded

            Case number
                                                                                                    City                     State    ZIP Code



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

           No. Go to line 11.
     CI    Yes. Fill in the information below.

                                                                           earAbelthi.prOpe                                                               of the pro



                 Creditor's Name



                 Number      Street                                        xplaltt *hat Itappentt

                                                                          O    Property was repossessed.
                                                                          CI   Property was foreclosed.
                                                                          O    Property was garnished.
                 City                            State    ZIP Code        O    Property was attached, seized, or levied.




                 Creditor's Name



                 Number      Street
                                                                                   hat happened

                                                                          0    Property was repossessed.
                                                                          O    Property was foreclosed.
                                                                          0    Property was garnished.
                 City                            State    ZIP Code
                                                                          O    Property was attached, seized, or levied.



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Debtor 1          JAMES                              G.                     HUGHES                     Case number Ivknown)
                  First Name     Middle Name              Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     El No
     U Yes. Fill in the details.

                                                                                                                              Date action
                                                                                                                              was taken
           Creditor's Name



           Number      Street




           City                           State   ZIP Code        Last 4 digits of account number: XXXX—


 12. Within 1 year before you filed for bankruptcy, was any of your property In the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     La No
     U Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     R1 No
     U Yes. Fill in the details for each gift.


                                      of more than $600                be the gift




           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 6
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Debtor 1          JAMES                               G.                         HUGHES                         Case number yr knom)
                    First Name      Middle Name            Last Name




 14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

           No
     0     Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to chari                            ascribe what you contributed                                    Pate you      alu
            that total, more than $600                                                                                                 ontributed




           Charity's Name




           Number        Street




           City            State     ZIP Code




  Part 6:           List Certain Losses


  15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     a     No
     1:1 Yes. Fill in the details.
                                                                         ,
                     cribe the property you                          isCribe
                                                                      ,,     tinio Insurance coverage for the loss
                    i the loss occurred
                                                                   Include the amount that leettrapSe has paid. List pending
                                                                   claims on line 33 of'$chedOlelA/8; PyoAer,ty., ,        •




  Part 7:         List Certain Payments or Transfers

  16.Within 1 year before you filed for bankruptcy, did you or anyone-else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
     13.1 Yes. Fill in the details.

                                                                            IP ion and value of any property     terra                 Date a              pt of payment'
            moneysharp.org                                                                                                             transfer8
            Person Who Was Paid                                                                                                        made
                                                                       ankrtm5Ey Giiunseling

            Number         Street                                                                                                      12/19                     10.00



             City                        State    ZIP Code



            Email or website address


            Person Who Made the Payment, if Not You



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Debtor 1      JAMES                                  G.                        HUGHES                       Case number (If known)
                  First Name      Middle Name              Last Name



                                                                           .                   .
                                                                  Description and yaiti‘of any property transferre                   pat. Payment
                                                                                                                                     transfer Was ma

           Person Who Was Paid



           Number       Street




           City                        State    ZIP Code




           Email or website address



           Person Who Made the Payment, if Not You



 17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

       No
     U Yes. Fill in the details.



           Person Who Was Paid



           Number        Street




           City                        State    ZIP Code

  18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     Uf No
     U Yes. Fill in the details.
                                                                   DescrtptIon dnd value of property        Decrlbe an property or payments ioeved       DatetionS
                                                                   nannferre                                ordebts paid In exchange                      at made
                                                                            •
           Person Who Received Transfer



           Number        Street




           City                        State    ZIP Code


           Person's relationship to you


           Person Who Received Transfer



           Number        Street




           City                        State    ZIP Code

           Person's relationship to you

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Debtor 1        JAMES                                G.                         HUGHES                      Case number ( f known)
                   First Name      Middle Name            Last Name




 19. Within 10 years before ycu filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called sset-protection devices.)

           No
     O Yes. Fill in the details.

                                                                  Description ttd value of the property transferred                                             Date transfer
                                                                                                                                                                was made


           Name of trust




  Part 8:       List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

  zo. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     Ell No
     O Yes. Fill in the details.

                                                                  Last 4 digits of account,ntimber    Type of account or             Date account            ,:-.)tetbalent*tiefOre
                                                                                                      Instrument                     closed, sold, moved,    closing or
                                                                                                                                     or transferred

            Name of Financial institution
                                                                                                      0 Checking
            Number        Street
                                                                                                      1=1 Savings
                                                                                                      0 Money market
                                                                                                      0 Brokerage
            City                        State    ZIP Code
                                                                                                      0 Other

                                                                                                       0 Checking
            Name of Financial Institution
                                                                                                       0 Savings
            Number        Street                                                                       0 Money market
                                                                                                       0 Brokerage
                                                                                                       0 Other
            City                        State    ZIP Code

  21. Do you now have, or did you have within 1 year before you flied for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
           No
     O Yes. Fill in the details.
                                                                                                                      . •
                                                                      Who else had sectoes to II                   Describe the contents                                 y011 still
                                                                                                                             •                                         ave it?

                                                                                                                                                                   I 0 No
            Name of Financial Institution                         Name
                                                                                                                                                                     0 Yes

            Number        Street                                  Number      Street


                                                                  City          State      ZIP Code

            City                        State    ZIP Code



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Debtor 1       JAMES                                  G.                        HUGHES                                Case number (If known)
                   First Name      Middle Name              Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    El No
    U Yes. Fill in the details.
                                                  Who else has or had access to                                                                        o you still
                                                                                                                                                       eye It?

                                                                                                                                                          No
            Name of Storage Facility                               Name                                                                                   Yes
                                                                                                                                                       El

            Number        Street                                   Number    Street


                                                                   CityState ZIP Code

                                                 ZIP Code



  Part 9:            Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     g No
     U Yes. Fill in the details.
                                                    ,
                                                Where Is the prone


             Owner's Name

                                                                  Number    Street
             Number       Street



                                                                  City                           State     ZIP Code
             City                       State     ZIP Code


  Part 10:           Give Details About Environmental Information

  For the purpose of Part 10, the following definitions apply:
  •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanup of these substances, wastes, or material.
  •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
      utilize it or used to own, operate, or utilize it, including disposal sites.
  •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
      substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has   any governmental unit notified you Mat you may be liable or potentially liable under or In violation of an environmental law?

      Ed No
      U Yes. Fill in the details.
                                                                  ,Governmental unit                           Environmental law If you know



            Name of site                                          Governmental unit


            Number      Street                                    Number    Street


                                                                  City                  State   ZIP Code



            City                       State     ZIP Code




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Debtor 1         JAMES                                G.                            HUGHES                                Case number (If known)
                    First Name      Middle Name            Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     •      No
     U Yes. Fill in the details.
                                                                        •vent:Mental, unit                           ItielrooreentelJaWi,if,              know
                                                                                          ,                                ,,,A„:,.:?,•:,••••„Lii,•;•       ,


             Name of site                                         Governmental Unit
                                                             a

             Number        Street                                Number       Street



                                                                 City                     State    ZIP Code

             City                        State    ZIP Code


  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
     El Yes. Fill in the details.

                                                                       Court or agency                                         ture of the co

            Case title
                                                                                                                                                                                      LI Pending
                                                                       Court Name
                                                                                                                                                                                     !U     On appeal
                                                                       Number    Street                                                                                              I LI Concluded


            Case number                                                City                       State   ZIP Code



                      Give Details About Your Business or Connections to Any Business

  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            El A sole proprietor or self-employed in a trade, pr9fession, or other activity, either full-time or part-time
            U A member of a limited liability company (LLC) or limited liability partnership (LLP)
            El A partner in a partnership
            El An officer, director, or managing executive of a corporation

            U An owner of at least 5% of the voting or equity securities of a corporation

     131 No. None of the above applies. Go to Part 12.
         U Yes. Check all that apply above and fill in the details below for each business.
                                                                       Describe the nature of the business                                          :mployer Identification number
                                                                                                                                                    .* not Include Social Security number OpyriN,
             Business Name

                                                                                                                                                   EIN:             -
             Number        Street
                                                                       Name of accountant or bookkeeper                                            Bates boom    s exis


                                                                                                                                                   From                 To

                                                                                                                                                     „
                                                                       Describe the nature of the business                                         Employer Identification numb
                                                                                                                                                    10 not include Social Security numb')
             Business Name

                                                                                                                                                   EIN:             -
                                                                                                                                               I
             Number        Street
                                                                       Name Of accountant or bookkeeper                                            Dates bilabial


                                                                                                                                                   From                 To
             City                         State   ZIP Code   I
                                                                                                                                                                          M,   ^



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Debtor 1     JAMES                                   G.                          HUGHES                          Case number (if known)
                  First Name      Micidie Name            Last Name




                                                                        ttOrlkia the notnroi:ot *YU', bualnEsi                    trIPIOYer
                                                                                                                                    ,       Idonfin
                                                                                                                                             <      tiOn number
                                                                                                                                 Do: not Include Sadie! SeOtiritli nuoriber or rriN
           Business Name
                                                                                                                                 EIN:

           Number        Street
                                                                                          ol; or bookk0000



                                                                                                                                 From                  To
           City                         State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     • No
     U Yes. Fill in the details below.




           Name                                                       MM / DD / YYYY



           Number        Street




           City                         State    ZIP Code




  Part 12:         Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 151 , and 3571.




                                                                                         Signature of Debtor 2


           Date                                                                          Date
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)7

       IS4 No
       O Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?.
      g No
      O Yes. Name of person                                                                                               Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                          Declaration, and Signature (Official Form 119).




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    Fill in this information to identify your case and this filing:


    Debtor 1         JAMES                           G.                        HUGHES
                         First Name                  Middle Name                  Last Name

    Debtor 2
    (Spouse, If fling) First Name                    Middle Name                  Last Name


    United States Bankruptcy Court for the: Northern District of Georgia

    Case number
                                                                                                                                                      CI Check if this is an
                                                                                                                                                          amended filing


    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                              12/15

    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
    category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
    responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
    write your name and case number (if known). Answer every question.

                   Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

             No. Go to Part 2.
I
             Yes. Where is the property?
                                                                           What is the property? Check all that apply.           not deduct secured, claims or exemptions.F3.0.t.,..
                                                                           El Single-family home                             tti6iimpt,toititany secured claImsokgdoedowp!
          1.1.                                                             LI    Duplex or multi-unit building
                                                                                                                              *ItOtAWiitilliiVe'piath**Oirfig•tiy-ProOrty,, .:,1
                 Street address, if available, or other description
                                                                           D Condominium or cooperative                      Current value of the         Current value of the ,
                                                                           O     Manufactured or mobile home                 entire property?             portion you own?
                                                                           O     Land
                                                                           O     Investment property
                                                                           O     Timeshare                                   Describe the nature of your ownership
                 City                             State      ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                           O     Other                                       the entireties, or a life estate), if known.
                                                                           Who has an interest in the property? Check one.
                                                                           0 Debtor 1 only
                 County                                                    CI Debtor 2 only
                                                                           U Debtor 1 and Debtor 2 only                      0 Check if this is community property
                                                                                                                                 (see instructions)
                                                                           El At least one of the debtors and another
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:
        If you own or have more than one, list here:
                                                                                                                                                                       „
                                                                        What is the property? Check all that apply.            ro,nOt deduct secured claims or           Put
                                                                        LI      Single-family home                           the:06eit.1.6ftitkiiiSOW          on Schedule
                                                                                                                             CrOclit*WlitiHaUettalitt,i--$000tectpy:PeOperfr:
          1.2.                                                          0       Duplex or multi-unit building
                  Street address, if available, or other description
                                                                        O Condominium or cooperative                         Current value of the         Current value of the I
                                                                        O       Manufactured or mobile home                  entire property?             portion you own?     I
                                                                        O       Land
                                                                        O       Investment property
                                                                                Timeshare
                                                                                                                             Describe the nature of your ownership
                                                                        O
                  City                            State      ZIP Code                                                        interest (such as fee simple, tenancy by
                                                                        O       Other                                        the entireties, or a life estate), if known.
                                                                        Who has an interest in the property? Check one.
                                                                        El Debtor 1 only
                  County                                                0 Debtor 2 only
                                                                        0 Debtor 1 and Debtor 2 only                         0 Check if this is community property
                                                                        0 At least one of the debtors and another                (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:


     Official Form 106A/B                                                  Schedule A/B: Property                                                                   page 1
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Debtor 1      JAMES                            G.                       HUGHES                            Case number ),f known)
                  First Name     Middle Name            Last Name




                                                                    What is the property? Check all that apply.                    nO!'000uct sec4red0alms or exemptions,Put
                                                                    0   Single-family home                                  ., 14.0,01.64100
    1.3.                                                                                                                                                     Se600:hyProPeity...:
           Street address, if available, or other description       0   Duplex or multi-unit building
                                                                        Condominium.or cooperative                            Current value of the          Current value of the
                                                                                                                              entire property?              portion you own?
                                                                        Manufactured or mobile home
                                                                        Land
                                                                        Investment property
           City                            State      ZIP Code          Timeshare                                             Describe the nature of your ownership
                                                                                                                              Interest (such as fee simple, tenancy by
                                                                        Other                                                 the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.
                                                                        Debtor 1 only
           County
                                                                    0 Debtor 2 only
                                                                    U Debtor 1 and Debtor 2 only                              0    Check if this is community property
                                                                                                                                   (see instructions)
                                                                    0 At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                                              0.00
   you have attached for Part 1. Write that number here.




            Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
   0   No
   A Yes


    3.1.   Make:                        PATRION                     Who has an interest in the property? Check one.             o not deduct secured claims       0100.4170.igH":Pot ,.
                                        JEEP                        0   Debtor 1 only                                         the arppunt of any Secured claims on Schedule b:
           Model:                                                                                                             CredItorWhc Have Claims Secured byopel1y.
                                                                    0   Debtor 2 only                                                                   ,
            Year:                       2017
                                                                    0   Debtor 1 and Debtor 2 only                            Current value of the           Current value of the
                                                                                                                              entire property?               portion you own?
            Approximate mileage:                                    0   At least one of the debtors and another
            Other information:
                                                                                                                                          18000.00           $                   0.00
                                                                    U Check if this is community property (see
                                                                        instructions)



   If you own or have more than one, describe here:

           Make:                                                    Who has an Interest in the property? Check one.           Do riot deduct secured clairnsPr.exemPtmns Put
    3.2.
                                                                    0   Debtor 1 only                                         the aMcerd clarlY secured QIEtkris on Soheduie
           Model:                                                                                                             Creditors Who ve CMOs Seolsed ProPeltY,
                                                                    0   Debtor 2 only
           Year:                                                                                                              Current value of the           Current value of the i
                                                                    0   Debtor 1 and Debtor 2 only
                                                                                                                              entire property?               portion you own? I
           Approximate mileage:                                     0   At least one of the debtors and another
           Other information:
                                                                    U Check if this is community property (see
                                                                        instructions)




 Official Form 106A/B                                                Schedule A/B: Property                                                                           page 2
             Case 19-70054-pmb                      Doc 1         Filed 12/16/19 Entered 12/16/19 09:13:47                                           Desc
                                                                 Petition Page 22 of 56
Debtor 1      JAMES                           G.                  HUGHES                             Case number of known)
               First Name       Middle Name        Last Name




   33.     Make:                                               Who hhs an interest in the property? Check one.            Dc nof.dtidut'secured dl ms aiax.0                 Fut
                                                                                                                      ; . the amount
                                                                                                                              ima—'
                                                                                                                                ,    uf abii0C,i/nid
           Model:
                                                               0 Debtor 1 only                                                                                         d1:4-!' e' ; • ; '
                                                                                                                                                             r;hclt;ti:mPerlY,
                                                                                                                         red100 111/h4
                                                               U Debtor 2 only
           Year:                                                                                                        Current value of the          Current value of the
                                                               0 Debtor 1 and Debtor 2 only
                                                                                                                        entire property?              portion you own?
           Approximate mileage:                                0 At least one of the debtors and another
           Other information:
                                                               LI Check if this is community property (see
                                                                  instructions)


           Make:                                               Who has an interest in the property? Check one.            o not' 004
                                                                                                                                  '   i4i4' ia         althi or Otemptions. put .
   3.4.                                                                                                                                     Entt
                                                                                                                                                       - ' 1 1- on schedule D.
                                                                                                                        the 0.61Pcolt41116Y
           Model:
                                                               0 Debtor 1 only                                          Oreiliters Who NOV!     Oilir°c1-9  a " d b, y Pm0eris
                                                                                                                                                  C10//ns :00ture      .,         i
                                                               0 Debtor 2 only
           Year:                                                                                                        Current value of the          Current value of the !
                                                               0 Debtor 1 and Debtor 2 only                             entire property?              portion you own? ".
           Approximate mileage:                                1:1 At least one of the debtors and another
           Other information:
                                                               0 Check if this is community property (see
                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, mr•tors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   Ei No
   0 Yes

           Make:                                               Who has an interest in the property? Check one.          Dó nottioduOt t4OUrtid claims Or exemptions, Put
   4.1.
                                                               0 Debtor 1 only                                          the:t01,9un.Pf anYtieOtArOO otalmt On $chedalelk
           Model:                                                                                                       GI-editors 1440 Rave Clap       seourod by propetty,
                                                               0 Debtor 2 only
           Year:
                                                               0 Debtor 1 and Debtor 2 only                             Current value of the           Current value of the
           Other information:                                  CI At least one of the debtors and another               entire property?               portion you own?


                                                               0 Check if this is community property (see
                                                                  instructions)



   If you own or have more than one, list here:

           Make:                                               Who has an interest in the property? Check one.         ,Do not 000 'sfiorOd, 4taiiii0:54-.050ipptipnt, PUL
   4.2.
                                                                                                                        the amount of anyi0446::'Otatins,orf.rsoodgiep,- ,.
           Model:                                              0 Debtor 1 only
                                                               0 Debtor 2 only
           Year:                                                                                                        Current value of the           Current value of the
                                                               0 Debtor 1 and Debtor 2 only                             entire property?               portion you own?
           Other information:                                  CI At least one of the debtors and another

                                                               U Check if this is community property (see
                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                          0.00
   you have attached for Part 2. Write that number here




 Official Form 106A/B                                           Schedule A/B: Property                                                                          page 3
            Case 19-70054-pmb                     Doc 1       Filed 12/16/19 Entered 12/16/19 09:13:47                         Desc
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Debtor 1     JAMES                         G.                  HUGHES                           Case number (ffknown)
              First Name     Middle Name         Last Name




           Describe Your Personal and Household Items

   you own Or have any legal or equitable Interest            y of the following:kin
                                                                                                                          portion you own?

                                                                                                                          or eempt1anS.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   U No
   O Yes. Describe          11 LIVING ROOM SET, 1 DINING ROOM SET, 1 BED, TABLES, CHAPIRS, LAMPS,                                            1000.00
                            ; TABLES       -

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   O No
   O Yes. Describe          [2 TV'S, 2 CELL PHONES, 1 LAPTOP                                                                                  500.00 i


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   O No
   U Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   O No
   U Yes. Describe


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    O No
    O Yes. Describe

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    O No
    O Yes. Describe       [C LOTHES                                                                                                           400.00
                            .

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
   O No
   O Yes. Describe

13.Non-farm animals
   Examples: Dogs, cats, birds, horses
   O No
   O Yes. Describe


14. Any other personal and household items you did not already list, including any health aids you did not list

    O No
    O Yes. Give specific
      information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                               1900.00
    for Part 3. Write that number here



 Official Form 106A/B                                        Schedule A/B: Property                                                       page 4
                  Case 19-70054-pmb                        Doc 1       Filed 12/16/19 Entered 12/16/19 09:13:47                       Desc
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  Debtor 1        JAMES                           G.                   HUGHES                  Case number (if imown)
                   First Name       Middle Name           Last Name




                 Describe Your Financial Assets
                                ,

I Do you.own Or nnini. any ,legal or equRabe Interest In any of the foIioWIn                                                         rintvaiueóf the
                                                                                                                                      towyoti.ovvrk .!,
                                                                                                                                     ot' 04000364460,61


 16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     •     No
     O Yes                                                                                                     Cash:



 17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution, list each.
     O No
     VI Yes                                                           Institution name:


                                    17.1. Checking account:           ASSOCIATED FEDERAL CREDIT                                                  200.00

                                     17.2. Checking account:

                                     17.3. Savings account:

                                     17.4. Savings account:

                                     17.5. Certificates of deposit:

                                     17.6. Other financial account:

                                     17.7. Other financial account:

                                     17.8. Other financial adcount:

                                     17.9. Other financial account:




  18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     gi No
         O Yes                       Institution or issuer name:




  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
      an LLC, partnership, and joint venture

         Vi No                       Name of entity:                                                            % of ownership:
         0 Yes. Give specific                                                                                   0%
            information about
            them
                                                                                                                0%
                                                                                                                0%




   Official Form 106A/B                                               Schedule A/B: Property                                                  page 5
            Case 19-70054-pmb                          Doc 1      Filed 12/16/19 Entered 12/16/19 09:13:47                        Desc
                                                                 Petition Page 25 of 56
Debtor 1     JAMES                          G.                    HUGHES                       Case number (if known)
              First Name     Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   El No
   D Yes. Give specific      Issuer name:
     Information about
     them




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   El No
   U Yes. List each
     account separately. Type of account:              Institution name:

                             401(k) or similar plan:

                             Pension plan:

                             IRA:

                             Retirement account:

                             Keogh:

                             Additional account:

                             Additional account:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   Ul No
   U Yes                                           Institution name or individual:
                             Electric:

                             Gas:

                             Heating oil:

                             Security deposit on rental unit:

                             Prepaid rent:

                             Telr phone:

                             Water:

                             Rented fumiture:

                             Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   •   No
   D Yes                     Issuer name and description:




 Official Form 106A/B                                           Schedule A/B: Property                                               page 6
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Debtor 1     JAMES                         G.                  HUGHES                            Case number (if known)
              First Name     Middle Name          Lest Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   V.1 No
   U Yes                              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future Interests In property (other than anything listed in line 1), and rights or powers
    exercisable for your benefr

       No
   U Yes. Give specific
     information about them....
                                   •-------
26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   gl No
   O Yes. Give specific
     information about them....


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   •   No
   O Yes. Give specific
     information about them....


                                                                                                                                             ht value of the
                                                                                                                                            on you Own?,
                                                                                                                                           Otdeduct,400t1
                                                                                                                                               tOteMPtIOSS.

28. Tax refunds owed to you
   •   No
   U Yes. Give specific information                                                                               Federal:
          about them, including whether
          you already filed the returns                                                                            State:
          and the tax years.
                                                                                                                   Local:



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   WI No
   •   Yes. Give specific information
                                                                                                                  Alimony:
                                                                                                                  Maintenance:
                                                                                                                  Support:
                                                                                                                  Divorce settlement:
                                                                                                                  Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benbfits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   gl No
   U Yes. Give specific information




 Official Form 106A/B                                         Schedule A/B: Property                                                              page 7
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Debtor 1      JAMES                          G.                    HUGHES         •                     Case number (If known)
               First Name      Middle Name           Last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   Ul No
   O Yes. Name the insurance company           Com
                                                 ' pany name:                                              Beneficiary:                              Surrender or refund value:
          of each policy and list its value...




32. Any Interest In property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
   •   No
   D Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
   •   No
   O Yes. Describe each claim.


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
   •   No
   O Yes. Describe each claim.




35. Any financial assets you did not already list

   12I No
   •   Yes. Give specific information



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here




             Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   •   No. Go to Part 6.
    O Yes. Go to line 38.
                                                                                                                                                   Current value of the
                                                                                                                                                   portion you
                                                                                                                                                       notdeduct secured claims
                                                                                                                                                   or 6xernpstorit ,

38.Accounts receivable or commissions you already earned
   U No
   .    Yes. Describe
                            r
39. Office equipment, furnishings, and supplies
                                                        6



    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
   Li No
   U Yes. Describe




 Official Form 106A/B                                            Schedule NB: Property                                                                           page 8
            Case 19-70054-pmb                     Doc 1       Filed 12/16/19 Entered 12/16/19 09:13:47                         Desc
                                                             Petition Page 28 of 56
Debtor 1        JAMES                       G.                HUGHES                     Case number (ifim.)
                First Name    Middle Name        Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   U No
   U Yes. Describe



41. Inventory
   LI No
   U Yes. Describe



42. Interests in partnerships or joint ventures
   U No
   1:1 Yes. Describe         Name of entity:                                                             % of ownership:




43. Customer lists, mailing lists, or other compilations
    LI No
    • Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
            •     No
            U Yes. Describe.



44. Any business-related property you did not already list
   LI No
   U Yes. Give specific
     information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here




            Describe Any Farm- and ComMercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable Interest in any farm- or commercial fishing-related property?
   a No. Go to Part 7.
   U Yes. Go to line 47.
                                                                                                                                               the
                                                                                                                           portion
                                                                                                                           Do not deduct secured claims
                                                                                                                           or
                                                                                                                                  •  ••:
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   U No
   U Yes




 Official Form 106A/B                                        Schedule A/B: Property                                                        page 9
            Case 19-70054-pmb                    Doc 1        Filed 12/16/19 Entered 12/16/19 09:13:47                                Desc
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Debtor I     JAMES                         G.                 HUGHES                       Case number (tanown)
              First Name     Middle Name        Last Name




48. Crops—either growing or harvested

   CI No
   U Yes. Give specific
     information

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   El No
   CI Yes



50.Farm and fishing supplies, chemicals, and feed

   O No
   CI Yes



51.Any farm- and commercial fishing-related property you did not already list
   El No
   D Yes. Give specific
       information.

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
   for Part 6. Write that number here                                                                                    4



            Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

   El No
   •   Yes. Give specific
       information.




54. Add the dollar value of all of your entries from Part 7. Write that number here                                       4



Part 8:     List the Totals of Each Part of this Form

                                                                                                                                               0.00
55.Part 1: Total real estate, line 2                                                                                          4

                                                                                        0.00
56.Part 2: Total vehicles, line 5

                                                                                     1900.00
57.Part 3: Total personal and household items, line 15

                                                                                      200.00
58.Part 4: Total financial assets, line 36

                                                                                        0.00
59.Part 5: Total business-related property, line 45

                                                                                        0.00
60.Part 6: Total farm- and fishing-related property, line 52

61.Part 7: Total other property not listed, line 54                      $              0.00

                                                                                     2100.00                                                 2100.00
62.Total personal property. Add lines 56 through 61.                     $                     Copy personal property total       $



63.Total of all property on Schedule A/B. Add line 55 + line 62                                                                              2100.00




 Official Form 106A/B                                       Schedule A/B: Property                                                       page 10
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 Fill in this information to identify your case:

 Debtor 1         JAMES                         G.                    HUGHES
                   First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) Hat Name             Middle Name                 Last Name .


 United States Bankruptcy Court for the:Northem District of Georgia

 Case number                                                                                                                         LI Check if this is an
  (If known)
                                                                                                                                        amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                      04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so Is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited In dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, ever) if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


               enedatlan of the OrnPattY and line       Current value of t
               dieNB that Oats this property             illanYan awn
                                                         opy the Value from
                                                         chequie       '

      Brief                                                                                                                44-13-100(a)(3)
                            2017 JEEP PATRIOT           $18,000.00                     $ 18,000.00
      description:
      Line from                                                                     0 100% of fair market value, up to
      Schedule A/B:         3.1                                                        any applicable statutory limit


      Brief                                                                                                                44-13-100(a)(4)
                            HOUSEHOLD GOODS             $1000.00                       $ 1000.00
      description:
      Line from                                                                     0 100% of fair market value, up to
      Schedule NB:                                                                     any applicable statutory limit

      Brief                                                                                                                44-13-100(a)(4)
                            ELECTRONICS                 $500.00                        $ 500.00
      description:
      Line from                                                                     0 100% of fair market value, up to
      Schedule A/B:                                                                    any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     g    No
     0    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          IA     No
          0      Yes



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                         page 1 of
            Case 19-70054-pmb                            Doc 1         Filed 12/16/19 Entered 12/16/19 09:13:47                           Desc
                                                                      Petition Page 31 of 56
Debtor 1      JAMES                              G.                      HUGHES                    Case number (If known)
              First Name        Middle Name           Lest Name




             Additional Page
                  _
               PriP‘tisii-ot,tite priiperty"Sild'ilris
                                                „ ,            utteht*Oluittlit                                                In*       hatàUow ekemptliih:
               00'N/4,t1tatilsts
                       ,              this, property          portion Yu:OWfl
                                                               ópy;the value from
                                                              $chedule A/B
                                                                                                                            44-13-100(a)(4)
     Brief                 CLOTHES                                         400.00                400.00
     description:                                                                       $
     Line from             11                                                       0   100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit
                                                                                                                            44-13-100(a)(6)
     Brief
     description:
                           ASSOCIATED FEDERA                      $        200.00   j $          200.00
     Line from
                                                                                    0   100% of fair market value, up to
                           17                                                           any applicable statutory limit
     Schedule A/B:

     Brief
     description:                                                                       $
     Line from                                                                      0   100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit

     Brief
     description:                                                                       $
     Line from                                                                          100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit

     Brief
     description:                                                                       $
     Line from                                                                      0   100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit


     Brief
     description:                                                                       $
     Line from                                                                      0   100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit

     Brief
     description:                                                                       $
     Line from
                                                                                    0   100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit

      Brief
      description:                                                                      $
     Line from                                                                      0   100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit


      Brief
      description:                                                                      $
      Line from                                                                     0 100% of fair market value, up to
      Schedule A/B:                                                                     any applicable statutory limit

      Brief
      description:                                                                      $
     Line from                                                                      0   100% of fair market value, up to
     Schedule A/B:                                                                      any applicable statutory limit

      Brief
      description:                                                                      $
      Line from                                                                     0   100% of fair market value, up to
      Schedule A/B:                                                                     any applicable statutory limit


      Brief
      description:                                                                      $
      Line from                                                                     0   100% of fair market value, up to
      Schedule A/B:                                                                     any applicable statutory limit



Official Form 1060                                           Schedule C: The Property You Claim as Exempt                                     page   2   of _
                    Case 19-70054-pmb                        Doc 1        Filed 12/16/19 Entered 12/16/19 09:13:47                          Desc
                                                                         Petition Page 32 of 56

    Fill in this information to identify your case:


    Debtor 1          JAMES                              G                    HUGHES
                       First Name                  Middle Name                  Last Name

    Debtor 2
    (Spouse, if filing) First Name                 Middle Name                  Last Name


    United States Bankruptcy Court for the: Northern District of Georgia

     Case number
     (If known)                                                                                                                           O Check if this is an
                                                                                                                                             amended filing


    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                              12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    Information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach It to this form. On the top of any
    additional pages, write your name and case number (if known).

    1. Do any creditors have claims secured by your property?
       1:1 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          IA Yes. Fill in all of the information below.


                   List All Secured Claims

                         red claims. If a creditor has „ore, than one secured claim,     the
                                                                                         , , creditor sop
                        ro If more than one creditor has a particular claim list the other credittirsimP`
                        possible, '1St the clethis In alphabetical     according to the creriltdett nat

                                                             Describe the property that secures the claim:                  19000.00 $     18000.00 $          0.00
          CHRYSLER FINANCIAL
          Creditor's Name
           PO BOX 961212
          Number            Street

                                                             As of the date you file, the claim is: Check all that apply.
                                                             U Contingent
          FT. WORTH                   TX      76161          •   Unliquidated
          City                        State   ZIP Code       O   Disputed

1     Who owes the debt? Check one.                          Nature of lien. Check all that apply.
      O     Debtor 1 only                                    •   An agreement you made (such as mortgage or secured
      O     Debtor 2 only                                        car loan)
      O     Debtor 1 and Debtor 2 only                       O   Statutory lien (such as tax lien, mechanic's lien)
      O     At least one of the debtors and another          O   Judgment lien from a lawsuit
                                                             U   Other (including a right to offset)
      O Check if this claim relates io a
         community debt
      Date debt was incurred                                 Last 4 digits of account number
    2.2                                                      Describe the property that secures the claim:                   15000.00 $     15000.00 $         0.00
           AMAN PATEL
          Creditor's Name
           400 GALLERIA PKWY STE 1500
          Number            Street

           REF: VIKASKUMAR PATEL                             As of the date you file, the claim is: Check all that apply.
                                                             O   Contingent
           ATLANTA                    GA 30339               •   Unliquidated
          City                        Slate   ZIP Code
                                                             •   Disputed

      Who owes the debt? Check one.                          Nature of lien. Check all that apply.
      •     Debtor 1 only                                    U   An agreement you made (such as mortgage or secured
      O     Debtor 2 only                                        car loan)
      O     Debtor 1 and Debtor 2 only                       O   Statutory lien (such as tax lien, mechanic's lien)
      O     At least one of the debtors and another          •   Judgment lien from a lawsuit
                                                             U   Other (including a right to offset)
      O Check if this claim relates to a
         community debt
      Date debt was incurred                                 Last 4 digits of account number
            dd the dollar value of your entries In Column A on this pose Write that number he                               34,000.00


     Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                page 1 of
                    Case 19-70054-pmb                        Doc 1     Filed 12/16/19 Entered 12/16/19 09:13:47                                Desc
                                                                      Petition Page 33 of 56
  Fill in this information to identify your case:


  Debtor 1             JAMES                               G.                HUGHES
                        First Name                   Middle Name              Last Name
  Debtor 2
  (Spouse, if filing) First Name                     Middle Name              Last Name

  United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                            CI Check if this is an
  Case number
  (If known)                                                                                                                                    amended filing



 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 10613). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Properly. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

                    List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
      0       No. Go to Part 2.
      U       Yes.
        st all of yeisr,prIlority.tineacUract claims. jf a creditor has more than One priori4i, unsecured 'dela* list the creditor separate'
            claimlisted, identify *hat type of olairn:it is. If 6,0100 has both:pflorityAnd-ndhorloilty emauntaiiiet,that.olainitera and show
      nonpriority amounts; AS much as possible, list the claims in alphabetical order according to, the creditor's name: If you have,MPrelhall
      unsecured cialnis; fill Out the Continuation Page of Partl. If more than one credltor kieldS a Particular claim, list the other cr editors in p
        or An explanation of each tYpe ofolaim, tee the Irish-notions for this form,in the instruction booklet.)



2.1
                                                                     Last 4 digits of account number
          Priority Creditors Name
                                                                     When was the debt incurred?
          Number           Street

                                                                     As of the date you file, the claim is: Check all that apply.
                                                                     El Contingent
          City                              State     ZIP Code
                                                                     • Unliquidated
          Who Incurred the debt? Check one.
                                                                     O Disputed
          O Debtor 1 only
          •      Debtor 2 only                                       Type of PRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only
                                                                     O Domestic support obligations
          0      At least one of the debtors and another
                                                                     U Taxes and certain other debts you owe the government
          U Check if this claim is for a community debt
                                                                     O Claims for death or personal Injury while you were
          Is the claim subject to offset?                              intoxicated
          O No                                                       CI   Other. Specify
          0      Yes
2.2
                                                                     Last 4 digits of account number                                $
          Priority Creditors Name
                                                                     When was the debt incurred?
          Number           Street
                                                                     As of the date you file, the claim Is: Check all that apply.
                                                                     O Contingent
          City                              State     ZIP Code       O Unliquidated
          Who incurred the debt? Check one.                          O Disputed
          O Debtor 1 only
                                                                     Type of PRIORITY unsecured claim:
          O Debtor 2 only
                                                                     U Domestic support obligations
          O Debtor 1 and Debtor 2 only
                                                                     O Taxes and certain other debts you owe the government
          El At least one of the debtors and another
                                                                     El Claims for death or personal injury while you were
          U Check if this claim is for a community debt                 intoxicated
          Is the claim subject to offset?                            O Other. Specify
          El No
          El Yes


 Official Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                   page 1 of
                Case 19-70054-pmb                       Doc 1         Filed 12/16/19 Entered 12/16/19 09:13:47                                    Desc
Debtor 1         JAMES                            G.                 Petition
                                                                       HUGHESPage 34 of 56
                                                                                        Case number               (if known)
                  First Name        Middle Name        Last Name

                List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
     El No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes

      at al! of your 1161,11PrlolitY unsecured claims in the alphabetical order each    of the creditor who holds each claim Irra creditor has more than one
       liPriatity,unsecoid,ciaihi,      the creditor separately for each claith, For         'ojOirh       identify what type ciailiiiit'is- roo,n0V11401iliraa already
                             orO,,thah„ohse creditor holds elJartiboler, clairn„llot the other creditota to PartS If yott have more than three rtof1pnont Onsecured
       1ms fill out        ti         Paglilof Part


:D CAPITAL ONE                                                                   Last 4 digits of account number_
      Nonpriority Creditor's Name
                                                                                                                                                           16,000.00
                                                                                 When was the debt Incurred?
      PO BOX 30281
      Number           Street
      SALT LAKE CITY                              UT,              84130
      City                                        State            ZIP Code      As of the date you file, the claim is: Check all that apply.

                                                                                 U Contingent
      Who Incurred the debt? Check one.                                          •   Unliquidated
      U Debtor 1 only                                                            U Disputed
      U Debtor 2 only
      GI Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
      U At least one of the debtors and another                                  LI Student loans
      •      Check if this claim is for a community debt                         U Obligations arising out of a separation agreement or divorce
                                                                                    that you did not report as priority claims
      Is the claim subject to offset?                                            U Debts to pension or profit-sharing plans, and other similar debts
      U No                                                                       U Other. Specify
      U Yes

.2    1ST FRANKLIN                                                               Last 4 digits of account number                                             3000.00
      Nonpnonty Creditor's Name                                                  When was the debt incurred?
      535 RIVERSTONE PKWY
      Number            Street
      CANTON                                      OH               30114         As of the date you file, the claim is: Check all that apply.
      City                                        State            ZIP Code
                                                                                 U Contingent
      Who incurred the debt? Check one.                                          •   Unliquidated

      •      Debtor 1 only                                                       U Disputed

      U Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 on'
      U At least one of the debtors and another                                  U Student loans
                                                                                 U Obligations arising out of a separation agreement or divorce
      U Check if this claim is for a community debt                                that you did not report as priority claims
      Is the claim subject to offset?                                            U Debts to pension or profit-sharing plans, and other similar debts
      U No                                                                       U Other. Specify
      U Yes

      LENDMARK FINANCIAL                                                         Last 4 digits of account number                                              3100.00 I
      Nonpriority Creditor's Name
                                                                                 When was the debt Incurred?
      3127 HIGHWAY 278                                                                                                                                                    1
      Number            Street
      COVINGTON                                   GA                30014
                                                                                 As of the date you file, the claim Is: Check all that apply.
      City                                        State            ZIP Code
                                                                                 U Contingent
      Who incurred the debt? Check one.
                                                                                 •   Unliquidated
      U Debtor 1 only
                                                                                 U Disputed
      U Debtor 2 only
      U Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      U At least one of the debtors and another
                                                                               • U   Student loans
      U Check if this claim is for a community debt                              U Obligations arising out of a separation agreement or divorce
                                                                                   that you did not report as priority claims
      Is the claim subject to offset?
                                                                                 U Debts to pension or profit-sharing plans, and other similar debts
      U No
                                                                                 U Other. Specify
      U Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page      of
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Debtor 1       JAMES                               G.              Petition
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                                                                                      Case number or               known)
                First Name          Middle Name      Leal Name



               Your NONPRIORITY Unsecured Claims — Continuation Page



                     entries on

4.4
      BIG PICTURE LOAN                                                             Last 4 digits of account number                                        $   2000.00
      Nonprionty Creditor's Name
                                                                                   When was the debt incurred?
      PO BOX 249
      Number         Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      WATERMEET                                    MI             49969
      City                                         State         ZIP Code          El Contingent
                                                                                   El Unliquidated
      Who incurred the debt? Check one.                                            El Disputed
      U Debtor 1 only
      U Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      El Debtor 1 and Debtor 2 only                                                U Student loans
      El At least one of the debtors and another                                   U Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
      Li Check if this claim is for a community debt
                                                                                   • Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              D Other. Specify
      U No
      U Yes


4.5
      LOAN AT LAST                                                                 Last 4 digits of account number                                        $    500.00
      Nonpnority Creditor's Name
                                                                                   When was the debt incurred?
      PO BOX 1193
      Number          Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      LAC DU FLAMBEAU                              WI             54538
      City                                         State 4       ZIP Code          D   Contingent
                                                                                   • Unliquidated
      Who incurred the debt? Check one.                                            U Disputed
      U Debtor 1 only
      O Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only
                                                                                   El Student loans
      El At least one of the debtors and another
                                                                                   U Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      El Check if this claim is for a community debt
                                                                                   El Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              U Other. Specify
      O No
      U Yes


4.6                                                                                                                                                            500.00
                                                                                   Last 4 digits of account number
      SPOT LOAN
      Nonpriority Creditor's Name
                                                                                   When was the debt incurred?
      914 CHIEF LITTLE SHELL ST
      Number          Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      BELCOURT                                     ND             58316
      City                                         State         ZIP Code          D   Contingent
                                                                                   •   Unliquidated
      Who incurred the debt? Check one.                                            •   Disputed
      U Debtor 1 only
      El Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 on,/
                                                                                   D   Student loans
      U At least one of the debtors and another
                                                                                   El Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                   D Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              U Other. Specify
      O No
      U Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page   of
               Case 19-70054-pmb                             Doc 1         Filed 12/16/19 Entered 12/16/19 09:13:47                                     Desc
Debtor 1           JAMES                               G.                 Petition
                                                                            HUGHESPage 36 of 56
                                                                                             Case number               (if known)
                   First Name      Middle Name              Last Name


                Your NONPRIORITY Unsecured Claims — Continuation Page




      CONSUMER CAPITAL ADVOCATES                                                       Last 4 digits of account number                                          $ NOTICE!
      Nonpriority Creditors Name
                                                                                       When was the debt incurred?
      1191 EAST NEWPORT CENTER DR/PH-C
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      DEERFIELD BEACH                                  FL                33442
      City                                             State            ZIP Code       O    Contingent
                                                                                       O    Unliquidated
      Who incurred the debt? Check one.                                                O    Disputed
      O Debtor 1 only
      O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      •      Debtor 1 and Debtor 2 only
                                                                                       O    Student loans
      O At least one of the debtors and another
                                                                                       •    Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                       O    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  O    Other. Specify
      U No
      CI     Yes



4.8
      PROGRESSIVE LEASING                                                              Last 4 digits of account number                                          $   3100.00
      Nonpriority Creditors Name
                                                                                       When was the debt incurred?
      256 WEST DATA DRIVE
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      DRAPER                                           UT                84020
      City                                             State            ZIP Code       O    Contingent
                                                                                       •    Unliquidated
      Who Incurred the debt? Check one.                                                O    Disputed
      17 Debtor 1 only
      GI Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 aril/                                                         Student loans
      0      At least one of the debtors and another                                        Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
      U Check if this claim Is for a community debt
                                                                                       O    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   O   Other. Specify
      U No
      0      Yes


4.9
                                                                                       Last 4 digits of account number
      Nonpriority Creditors Name
                                                                                       When was the debt Incurred?
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      City                                             State            ZIP Code        O   Contingent
                                                                                        •   Unliquidated
      Who incurred the debt? Check one.                                                 O   Disputed
      O Debtor 1 only
      O Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only
                                                                                       CI   Student loans
      0      At least one of the debtors and another
                                                                                        O   Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                        O   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   O   Other. Specify
      U No
      0      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                page   of
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    Debtor 1     JAMES                               G.              Petition
                                                                       HUGHESPage 37 of 56
                                                                                        Case number           (rf known)
                     First Name     Middle Name         Last Name



    Part 4:    Add the Amounts for Each Type of Unsecured Claim



    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
I      Add the amounts for each type of unsecured claim.




                                                                                               °tail claim

                      6a. Domestic support obligations                                6a.                            0.00
I, 'Total _dialers
    frarn,Part I      6b. Taxes and certain other debts you owe the
                          government                                                  6b.                            0.00

                      6c. Claims for death or personal injury while you were
                          intoxicated                                                 6c.                            0.00

                       6d. Other. Add all other priority unsecured claims.
                           Write that amount here.                                    6d.    + $                     0.00


                       6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                                     0.00




                       6f. Student loans                                               6f.                           0.00
                       6g. Obligations arising out of a separation agreement
                           or divorce that you did not report as priority
                           claims                                                      6g.     $                     0.00
                       6h. Debts to pension or profit-sharing plans, and other
                           similar debts                                               6h.                           0.00


                       61. Other. Add all other nonpriority unsecured claims.
                           Write that amount here.                                     61.   + $             28,200.00


                       6j. Total. Add lines 6f through 61.                             6j.
                                                                                                             28,200.00




    Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                             page   of
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 Fill in this information to identify your case:


 Debtor               JAMES                         G.               HUGHES
                      First Name               Middle Name              Last Name

 Debtor 2
 (Spouse If filing)   First Name               Middle Name              Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)                                                                                                                               Check if this is an
                                                                                                                                           amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      U Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



                        ompany # 1111Artiom y00,1:)01/01hP POOr Ce'fiit,•OPS                     te what the contract or leas




      Name

      Number             Street

      City                                State       ZIP Code

2.2
      Name

      Number             Street

      CI                                   State      ZIP Code
2.3

      Name

      Number             Street

      c.                                  State       ZIP Code
2.4
      Name

      Number             Street

                                          State       ZIP Code


      Name

      Number             Street

      City                                State       ZIP Code


Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                     page 1 of
                  Case 19-70054-pmb                           Doc 1             Filed 12/16/19 Entered 12/16/19 09:13:47                              Desc
                                                                               Petition Page 39 of 56
 Fill in this information to identify your case:

 Debtor 1           JAMES                               G.                       HUGHES
                     First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) Fest Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)
                                                                                                                                                   U Check if this is an
                                                                                                                                                     amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                          12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       O No
       U Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       g    No. Go to line 3.
       U Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            •     No
            •     Yes. In which community state or territory did you live?                                 . Fill in the name and current address of that person.



                   Name of your spouse, former spouse, or legal equivalent



                   Number            Street



                   City                                             State                      ZIP Code


 3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
        shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
        Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
        Schedule E/F, or Schedule G to fill out Column 2.




3.1
                                                                                                                    0 Schedule D, line
           Name
                                                                                                                    CI Schedule E/F, line
           Number           Street                                                                                  0 Schedule G, line

           City                                                        State                    ZIP Code

 3.2
                                                                                                                    0 Schedule D, line
           Name
                                                                                                                    0 Schedule E/F, line
           Number           Street                                                                                  0 Schedule G, line

           City                                                        State                    ZIP Code

 3.3
                                                                                                                    U   Schedule D, line
           Name
                                                                                                                    0 Schedule E/F, line
           Number           Street                                                                                  CI Schedule G, line

                                                                       State                    ZIP Code



Official Form 106H                                                              Schedule H: Your Codebtors                                                page 1 of
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 Fill in this information to identify your case:


 Debtor 1           JAMES                       G.                                  HUGHES
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                              Check if this is:
  (If known)
                                                                                                          CI An amended filing
                                                                                                          CI A supplement showing postpetition chapter 13
                                                                                                                income as of the following date:
Official Form 1061                                                                                              MM / DD / YYYY

Schedule I: Your Income                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


11=                Describe Employment


11. Fill in your employment
    information.                                                             13,ptori                                                 non-filing

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                 IA Employed                                         Employed
    employers.                                                             CI Not employed                                 lit Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
                                                                         PHARMACY TECH
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name                 VA HOSPITAL

                                         Employer's address
                                                                           Number Street                                 Number   Street




                                                                         ATLANTA                  GA
                                                                           City              State   ZIP Code            City                 State ZIP Code

                                         How long employed there?             7 YEARS                                     7 YEARS



UM                 Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                         Debtor 1        For Debtor:2, or
                                                                                                                         "007.11#00'sP9PRO,
  2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.             2.      $   4299.00

  3. Estimate and list monthly overtime pay.                                                 3. + $             0.00     + $

1 4. Calculate gross income. Add line 2 + line 3.                                            4.      $   4299.00



Official Form 1061                                                 Schedule I: Your Income                                                           page 1
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Debtor 1          JAMES                      G.                          HUGHES                Case number (iOrnme;)
                  First Name   Middle Name         Lest Name



                                                                                                  or Debtor 1          For Debtor 2 or
                                                                                                                       non.filina *nous*
      Copy line 4 here                                                              4 4.      $       4299.00

15. List all payroll deductions:

       5a. Tax, Medicare, and Social Security deductions                               5a.    $         229.08           $
       5b. Mandatory contributions for retirement plans                                5b.    $         395.52            $
       5c. Voluntary contributions for retirement plans                                5c.    $           0.00            $
       5d. Required repayments of retirement fund loans                                5d.    $           0.00           $
        5e. Insurance                                                                  5e.    $          22.48            $
        5f. Domestic support obligations                                               5f.    $           0.00           $
        5g. Union dues                                                                 5g.    $          40.00            $
       5h. Other deductions. specify: VCS DEDUCTION                                    5h. +$          165.06          + $

     6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.     6.    $        852.14

     7. Calculate total monthly take-home pay. Subtract line 6 from line 4.             7.    $       3446.86

    B. List all other income regularly received:
1
        8a. Net Income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                             0.00
            monthly net income.                                                        8a.
        8b.Interest and dividends                                                      8b.    $           0.00
        8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                         0.00
            settlement, and property settlement.                                  8c.
        8d. Unemployment compensation                                                  8d.    $           0.00
        8e. Social Security                                                            8e.    $           0.00           $
        Of. Other government assistance that you regularly receive
            Include cash assistanc s and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                   8f.    $           0.00           $

        8g.Pension or retirement income                                                8g.    $           0.00

        8h.Other monthly Income. Specify:                                              8h. +$             0.00         +$

     9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.           9.                0.00

110. Calculate monthly income. Add line 7 + line 9.                                                   3446.86                      0.00               3446.86
I    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.         10.

    11. State all other regular contributions to the expenses that you list in Schedule J
        Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
        friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
       Specify:                                                                                                                          11.+              0.00

! 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
!     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                 12.
                                                                                                                                                      3446.86
                                                                                                                                                Combined
                                                                                                                                                monthly Income
     13. Do you expect an increase or decrease within the year after you file this form?
         QJ No.
         U Yes. Explain:


Official Form 1061                                               Schedule I: Your Income                                                          page 2
                 Case 19-70054-pmb                    Doc 1     Filed 12/16/19 Entered 12/16/19 09:13:47                                    Desc
                                                               Petition Page 42 of 56

  Fill in this information to identify your case:


  Debtor 1          JAMES                      G.                   HUGHES
                      First Name             Middle Name                 Last Name                      Check if this is:
  Debtor 2                                                                                              U An amended filing
   (Spouse, if filing) First Name            Middle Name                 Last Name
                                                                                                        U A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: Northern District of Georgia                                    expenses as of the following date:
   Case number                                                                                              MM / DD / YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

    121 No. Go to line 2.
    U Yes. Does Debtor 2 live in a separate household?

                 LI No
                 U Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                 LI No                                     Dependent's relationship to              Dependent's   Does dependent live
    Do not list Debtor 1 and               a Yes. Fill out this information for      Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                   each dependent
                                                                                     SON
                                                                                                                                            g No
    Do not state the dependents'                                                                                              17
    names.                                                                                                                                  U Yes
                                                                                                                                            U No
                                                                                                                                            U Yes
                                                                                                                                            U No
                                                                                                                                            U Yes
                                                                                                                                            U No
                                                                                                                                            U Yes
                                                                                                                                            U No
                                                                                                                                            U Yes

i 3. Do your expenses include                   No
    expenses of people other than
    yourself and your dependents?          U    Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

' Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
  expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule Your Income (Official Form 1061.)
  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                              1240.00
     any rent for the ground or lot.                                                                                    4.

      If not included in line 4:
      4a. Real estate taxes                                                                                             4a.                        0.00
      4b. Property, homeowner's, or renter's insurance                                                                  4b.                        0.00
      4c. Home maintenance, repair, and upkeep expenses                                                                 4c.                        0.00
      4d. Homeowner's association or condominium dues                                                                   4d.                        0.00


Official Form 106J                                            Schedule J: Your Expenses                                                            page 1
               Case 19-70054-pmb                  Doc 1        Filed 12/16/19 Entered 12/16/19 09:13:47                      Desc
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 Debtor 1       JAMES                       G.                  HUGHES                   Case number (Ir known)
                 First Name   Middle Name        Last Name




                                                                                                                                 0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                    5.

 6. Utilities:
     6a. Electricity, heat, natural gas                                                                           6a.          150.00
     6b. Water, sewer, garbage collection                                                                         6b.            0.00
     6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.          153.86
     6d. Other. Specify:                                                                                          6d.            0.00

 7. Food and housekeeping supplies                                                                                7.           200.00

 8. Childcare and children's education costs                                                                      8.             0.00
 9. Clothing, laundry, and dry cleaning                                                                           9.            50.00
10. Personal care products and services                                                                           10.          100.00
,11. Medical and dental expenaes                                                                                  11.            0.00
12. Transportation. Include gas, maintenance, bin or train fare.                                                               150.00
    Do not include car payments.                                                                                  12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.    $       0.00

14. Charitable contributions and religious donations                                                              14.    $       0.00

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a. Life insurance                                                                                          15a.           0.00

     15b. Health insurance                                                                                        15b.           0.00
     15c. Vehicle insurance                                                                                       15c.         150.00
     15d. Other insurance. Specify:                                                                               15d.           0.00

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                  16.
                                                                                                                                 0.00
     Specify:

17. Installment or lease payments:

     17a. Car payments for Vehicle 1                                                                              17a.         453.00

     17b. Car payments for Vehicle 2                                                                              17b.           0.00

     17c. Other. Specify:                                                                                         17c.           0.00

     17d. Other. Specify:                                                                                         17d.           0.00

18. Your payments of alimony, maintenance, a'nd support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                              18.   $     800.00

19. Other payments you make to support others who do not live with you.
    Specify:                                                                                                       19.   $       0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

     20a. Mortgages on other property                                                                             20a.           0.00

     20b. Real estate taxes                                                                                       20b.           0.00
     20c. Property, homeowner's, or renter's insurance                                                            20c.           0.00
     20d. Maintenance, repair, and upkeep expenses                                                                20d.           0.00
     20e. Homeowner's association or condominium dues                                                             20e.           0.00


Official Form 106J                                           Schedule J: Your Expenses                                           page 2
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 Debtor 1      JAMES                        G.                  HUGHES                        Case number (If known)
                PM Name       Middle Name        Last Name




121. Other. Specify:                                                                                                   21.   +$          0.00


22. Calculate your monthly expenses.

     22a. Add lines 4 through 21.                                                                                  22a.            3446.86

     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                          22b.                  0.00
     22c. Add line 22a and 22b. The result is your monthly expervses.                                              22c.            3446.86



23. Calculate your monthly net Income.
                                                                                                                                   3446.86
   23a.     Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

   23b.     Copy your monthly expenses from line 22c above.                                                        23b.       $    3446.86

   23c.     Subtract your monthly expenses from your monthly income.
                                                                                                                                         0.00
            The result is your monthly net income.                                                                 23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

    g   No.
    U Yes.        Explain here:




Official Form 106J                                           Schedule J: Your Expenses                                               page 3
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Fill in this information to identify your case:

Debtor 1              JAMES                               G.                   HUGHES
                      First Name                  Middle Name                Last Name

Debtor 2
(Spouse, if filing)   First Name                  Middle Name                Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number                                                                                                                                    Check if this is an
(If known)                                                                                                                                     amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                          12/15

  If you are an individual filing tinder chapter 7, you must fill out this form If:
  II creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:           List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

                              creditor and the property that is collateral                   What do you intend to do                  4y0V01010.**PraPertY,
                                                                                             secures a ctebtl.'                        .:.,!**Ipt#*,Sok*:0,40971
                                                                                                                                                                 1
          Creditor's
          name:              CHYRSLER FINANCIAL                                              0 Surrender the property.                 CI No
                                                                                            • 0 Retain the property and redeem it.     d Yes
          Description of 2017 JEEP PATRIOT
          property                                                                              Retain the property and enter into a
          securing debt:                                                                        Reaffirmation Agreement.
                                                                                             0 Retain the property and [explain]:



          Creditor's                                                                            Surrender the property.                0 No
          name:
                                                                                             0 Retain the property and redeem it.        Yes
          Description of
          property                                                                           0 Retain the property and enter into a
          securing debt:                                                                       Reaffirmation Agreement.
                                                                                                Retain the property and [explain]:



          Creditor's                                                                         0 Surrender the property.                   No
          name:
                                                                                         - 0 Retain the property and redeem it.        0 Yes
          Description of
          property                                                                           U Retain the property and enter into a
          securing debt:                                                                       Reaffirmation Agreement.
                                                                                             0 Retain the property and [explain]:

          Creditor's
          name:
                                                                                             0 Surrender the property.                 0 No
                                                                                             0 Retain the property and redeem it.        Yes
          Description of
          property                                                                              Retain the property and enter into a
          securing debt:                                                                        Reaffirmation Agreement.
                                                                                             0 Retain the property and [explain]:



  Official Form 108                                 Statement of Intention for Individuals Filing Under Chapter 7                              page 1
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Debtor 1       JAMES                               G.                HUGHES                   Case number   (If known)
               First Name          Middle Name     Last Name




               List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 366(p)(2).

                             xplred personal property leases

      Lessor's name:


      Description of leased
      property:


      Lessor's name:                                                                                                     0   No
                                                                                                                         0   Yes
      Description of leased
      property:


      Lessor's name:                                                                                                     0   No

      Description of leased                                                                                              0   Yes
      property:


      Lessor's name:                                                                                                     0 No
                                                                                                                         D Yes
      Description of leased
      property:


      Lessor's name:                                                                                                     0 No
                                                                                                                         LI Yes
      Description of leased
      property:


      Lessor's name:                                                                                                     Li No
                                                                                                                         U Yes
      Description of leased
      property:



      Lessor's name:                                                                                                         No
                                                                                                                         U Yes
      Description of leased
      property:




  Part 3:       Sign Below



    Under penalty of perju , I declare that I have Indicated my intention about any property of my estate that secures a debt and any
    personal              is subject to an unexpired lease.




                                                                    Signature of Debtor 2


      Date                                                          Date
             MM! DD     /   YYYY                                           MM! DD /   YYYY




Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                       page 2
               Case 19-70054-pmb                    Doc 1      Filed 12/16/19 Entered 12/16/19 09:13:47                               Desc
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 Fill in this information to identify your case:


 Debtor 1          JAMES                          G.                          HUGHES
                    First Name             Middle Name                  Last Name

 Debtor 2
 (Spouse, If tiling) First Name            Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                     U Check if this is an
                     (If known)                                                                                                    amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


               Summarize Your Assets




1. Schedule NB: Property (Official Form 106A/B)
   la. Copy line 55, Total real estate, from Schedule NB


    lb. Copy line 62, Total personal property, from Schedule A/B


    lc. Copy line 63, Total of all property on Schedule A/B                                                                                2100.00


                Summarize Your Liabilities


                                                                                                                                Our liabilities
                                                                                                                                mount you ewe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                         34,000.00
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                  0.00
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                     28,200.00
                                                                                                                                + $


                                                                                                       Your total liabilities            62,200.00


                Summarize Your Income and Expenses


4. Schedule!: Your Income (Official Form 1061)
                                                                                                                                             3446.86
   Copy your combined monthly income from line 12 of Schedule I

                                                                                                                                                          1
5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                             3446.86
   Copy your monthly expenses from line 22c of Schedule J




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical information                 page 1 of 2
                   Case 19-70054-pmb                    Doc 1      Filed 12/16/19 Entered 12/16/19 09:13:47                                Desc
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  Debtor 1         JAMES                           G.                      HUGHES                  Case number (If known)
                       First Name   Middle Name      Last Name




pa                 Answer These Questions for Administrative and Statistical Records

 L 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

          U No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          RI Yes
   ....            -                ----
   7. What kind of debt do you have?

          RI Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
             family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          U Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
            this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                         4299.00




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                            Total claim




                                                                                                                             0.00
          9a.Domestic support obligations (Copy line 6a.)


          9b.Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                                             0.00

                                                                                                                             0.00
          9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                             0.00
          9d. Student loans. (Copy line 6f.)

          9e. Obligations arising out of a separation agreement or divorce that you did not report as                        0.00
              priority claims. (Copy line 6g.)

          9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            $                0.00


          9g.Total. Add lines 9a through 9f.                                                                                 0.00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                                page 2 of 2
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Fill in this information to identify your case:

Debtor 1          JAMES                        G.                 HUGHES
                   First Name               Middle Name                 Last Name

Debtor 2
(Spouse, If filing) First Name              Middle Name                 Last Name


United States Bankruptcy Court for the: Northern Distrie't of Georgia
Case number
(If known)

                                                                                                                                                       U Check if this is an
                                                                                                                                                         amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       a No
       U Yes. Name of person                                                                     . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and co ect.




                                                                           Signature of Debtor 2


         Date                                                              Date
                MM/     DO       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                                                               Petition Page 50 of 56
 Fill in this information to identify your case:                                                         Check one box only as directed in this form and in
                                                                                                         Form 122A-1Supp:
 Debtor 1         JAMES                           G.                    HUGHES
                    First Name               Middle Name                Last Name
                                                                                                         121 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name              Middle Name                Last Name                        U 2. The calculation to determine if a presumption of
                                                                                                              abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia                                         Means Test Calculation (Official Form 122A-2).
 Case number                                                                                             U 3. The Means Test does not apply now because of
 (If known)
                                                                                                              qualified military service but it could apply later.


                                                                                                         •    Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional Information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        U Not married. Fill out Column A, lines 2-11.
        • Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        21 Married and your spouse is NOT filing with you. You and your spouse are:
              Ul Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              U     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fig in the average monthly income that you received from all sources, derived during the 6 full months before you file
        biolciiipt0,0,asp.11:14A§101(1OA),,Foteiample, if )toti, are fillo4'60,SpOteMber 15, tho'57Monfh period would be MarOh:.1 through
           ,0403.f.,;!fibe.E0pigit'brVpi.i(01,0011y,lelca*vdriO4-Ourfog,i6:0,Mohthsi:add"the,10cor4for all 6 months and divide the total by 6.'
         iII in the result. Do' not inal44‘**indOtoo'impuntrhOreiiian once.For example, f both spouses                              '
          come from that propertyin pile:Oplijnr6.01-0.,'lf
                                                       ,„..iou'fiiiithoitiliiito:rdiaiittkii-:an
                                                                                                             Column A          ,,cokon
                                                                                                             PObtOri            Debt011'pr,

   2. Your gross wages, salary, tips, bonuses, overtime, arld commissions
      (before all payroll deductions).      a                                                                $   4299.00                   0.00
   3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                                                                        0.00               0.00
      Column B is filled in.
   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                               $          0.00     $         0.00
   5. Net income from operating a business, profession,
      or farm
      Gross receipts (before all deductions)
        Ordinary and necessary operating expenses                       - $            -$
        Net monthly income from a business, profession, or farm                 0.00 $      0.00F,:fey+                 0.00               0.00

   6. Net income from rental and other real property
      Gross receipts (before all deductions)
      Ordinary and necessary operating expenses                         -$             -$
        Net monthly income from rental or other real property                   0.00    $   0.00h:r
                                                                                                c PeY4                  0.00     $         0.00
  7. Interest, dividends, and royalties                                                                      $          0.00     $         0.00


Official Form 122A-1                            Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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                                                             Petition Page 51 of 56

Debtor 1        JAMES                          G.                  HUGHE:                     Case number (if known)
                First Name    Middle Name        Last Name



                                                                                                   Column A                Column B
                                                                                                   1:1e1:Itor 1            Pebtork oi _
                                                                                                                           '000iiiiriti SOPS
   8. Unemployment compensation                                                                                   0.00                   0.00
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here*
            For you
            For your spouse
   9. Pension or retirement Income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                0.00                 0.00
   10.Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below.
                                                                                                                  0.00                 0.00
                                                                                                                  0.00                 0.00
           Total amounts from separate pages, if any.                                              +$             0.00     +$          0.00

   11.Calculate your total current monthly income. Add lines 2 through 10 for each
      column. Then add the total for Column A to the total for Column B.                                                                               4299.00
                                                                                                                                                  Total current
                                                                                                                                                  monthly Income
   Part 2:       Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11.                                                       Copy line 11 here+    r$
                Multiply by 12 (the number of months in a year).                                                                                  x 12
       12b. The result is your annual income for this part of the form.                                                               12b.        $ 51,588.00


   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                        Georgia

       Fill in the number of people in your household.             2

       Fill in the median family income for your state and size of household.                                                         13.         $ 63,303.00
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do the lines compare?


       14a. El Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
               Go to Part 3. Dr NOT fill out or file Official Form 122A-2



       14b. U     Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                  Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                   page 2
             Case 19-70054-pmb                      Doc 1      Filed 12/16/19 Entered 12/16/19 09:13:47                                    Desc
                                                              Petition Page 52 of 56

Debtor 1     JAMES                             G.                   HUGHE                        Case number (irwiown)
              First Name      Middle Name         Last Name



   Part 3:      Sign Below
                                                                     _
               By signin      s<17Ie
                               i                               erjury that the information on this statement and in any attachments is true and correct.



                      *graaturelir                                                              Signature of Debtor 2

                   Date                                                                         Date
                           MM / DD    / YYYY                                                           MM/ DD     / YYYY

                    If you checked line 14a, do NOT fill out or file Form 122A-2.
                    If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                  page 3
                  Case 19-70054-pmb                   Doc 1     Filed 12/16/19 Entered 12/16/19 09:13:47                                                                               Desc
                                                               Petition Page 53 of 56
  Fill in this information to identify your case:


  Debtor 1          JAMES                       G.                         HUGHES
                        First Name            Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)   First Name            Middle Name                Last Name


  United States Bankruptcy Court for the: Northern District of Georgia

  Case number
  (If known)
                                                                                                                   LI Check if this is an amended filing




Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                                                                                      12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).


Part 1:        Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
   personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

   El No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
          submit this supplement with the signed Form 122A-1.
   a Yes. Go to Part 2.

Part 2:        Determine Whether Military Service Provisions Apply to You


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

   g No.          Go to line 3.
   •    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
             10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  0 No. Go to line 3.
                  U Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                         Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
   21 No. Complete Form 122A-1. Do not submit this supplement.
   O Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
         O No. Complete Form 122A-1. Do not submit this supplement.
        U Yes. Check any one of the following categories that applies:

              •     I was called to active duty after September 11, 2001, for at least               ' • -- • 'Ked.••tititil'Ot1P:,categories:„.,: Oift, go to
                                                                                                      Y',;.:;..P!44-
                    90 days and remain on active duty.                                              i't,:0.'..)*40$7,-- ''ii                                                         F         1g
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              U I was called to active duty after September 11, 2001, for at least              ...: ' -iii'it                                                                                                ,=!..'•'','
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                90 days and was released from active duty on
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                which is fewer than 540 days before I file this bankruptcy case.                .Form'I'4,4st-).-.*,.4.4..,4k14-010pri:.)?09
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                before I file this bankruptcy case.                                            ,
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Official Form 122A-1Supp                   Statement of Exemption from Presumption of Abuse Under §707(b)(2)
Case 19-70054-pmb   Doc 1    Filed 12/16/19 Entered 12/16/19 09:13:47   Desc
                            Petition Page 54 of 56


 CHRYSLEY CAPITAL
 PO BOX 961212
 FORT WORTH, TX 76161

 AMAN PATEL, PATEL
 400 GALLERIA PKWY STE 1500
 ATLANTA, GA 30339

 CAPITAL ONE BANK USA NA
 P 0 BOX 30281
 Salt Lake City, UT 84130-0281

 1ST FRANKLIN FINANCIAL
 535 RIVERSTONE PARKWAY
 CANTON, GA 30114

 LENDMARK FINANCIAL SERVICE
 3127 HIGHWAY 278
 COVINGTON, GA 30014

 BIG PICTURE LOANS
 PO BOX 249
 WATERSMEET, MI 49969

 SPOTLOAN
 914 CHIEF LTLLE SHELL ST
 BELCOURT, ND 58316

 CONSUMER CAPITAL ADVOCATES
 1191 EAST NEWPORT CENTER DR/PH-C
 DEERFIELD BEACH, FL 33442
   Case 19-70054-pmb     Doc 1    Filed 12/16/19 Entered 12/16/19 09:13:47   Desc
                                 Petition Page 55 of 56


U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01260037 (RS) OF 12/16/2019


ITEM   CODE    CASE          QUANTITY                        AMOUNT   BY

   1     7IN   19-70054              1                       $ 0.00   Currency
               Judge - unknown at time of receipt
               Debtor - JAMES G. HUGHES


TOTAL:                                                       $ 0.00


FROM: James G. Hughes
      137 Twin Hill Road
      Austell, GA 30168




                                    Page 1 of 1
                  Case 19-70054-pmb                  Doc 1       Filed 12/16/19 Entered 12/16/19 09:13:47                                 Desc
                                                                Petition Page 56 of 56
   Case Number: 19-70054                             Name: Hughes                                                               Chapter: 7

G20!Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a
filed-stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

IZ Individual - Series 100 Forms                                                               CI Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                              Petition Deficiencies:
 O Complete List of Creditors (names and addresses of all creditors)                              LI Last 4 digits of SSN
 O Pro Se Affidavit (due within 7 days, signature must be notarized,                              O Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                             O Type of Debtor
 O Signed Statement of SSN (due within 7 days)                                                    O Chapter
                                                                                                  0 Nature of Debts
  MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                            O Statistical Estimates
  LI Statement of Financial Affairs                                                               O Venue
  O Schedules: A/B C D E/ FGHIJO J-2 (different addressfor Debtor 2)                              O Attorney Bar Number
  O Summary of Assets and Liabilities
  O Declaration About Debtor(s) Schedules                                                                              Case filed via:
  O Attorney Disclosure of Compensation                                                             El Intake Counter by:
  0 Petition Preparer's Notice, Declaration and Signature (Form 119)                                    O Attorney
  O Disclosure of Compensation of Petition Preparer (Form 2800)                                          O Debtor - verified ID 678-300-1082
  O Chapter 13 Current Monthly Income                                                                    O Other - copy of ID:
  O Chapter 7 Current Monthly Income
  O Chapter 11 Current Monthly Income                                                               0 Mailed by:
  O Certificate of Credit Counseling (Individuals only)                                                O Attorney
  O Pay Advices (Individuals only) (2 Months)                                                          O Debtor
  O Chapter 13 Plan, complete with signatures (local form)                                             O Other:
  O Corporate Resolution (Business Ch. 7 & 11)
                                                                                                                History of Case Association
   Ch.11 Business
   O 20 Largest Unsecured Creditors                                                                 Prior cases within 2 yearD
   O List of Equity Security Holders
   O Small Business - Balance Sheet
   O Small Business - Statement of Operations                                                       Signature:       ("/
   O Small Business - Cash Flow Statement                                                           Acknowledgment of e pt of check list
   O Small Business - Federal Tax Returns

   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   O Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.goviservices-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
       CO Paid $ 0    2g-Order Granting          E] 3g-Order Granting 10-day finitial payment of $ 75                 due within 10 days)
         LII   2d-Order Denying with filing fee of $               due within 10 days        CI   IFP filed (Ch.7 Individuals Only)
         0     No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.

                   You may mail docuinents and filing fee payments (no personal checks accepted - cashier's check or money orders only) to the address below.
                            All fee payments and documents tiled with the Court must show the debtor's name and bankruptcy case number.
                                      **Failure to Comply may result in the dismissal of your case.**
                                                     UNITED STATES BANKRUPTCY COURT
                                                       75 Ted Turner Drive, SW, Room 1340
                                                              Atlanta, Georgia 30303
                                                                  404-215-1000
 Intake Clerk:                      Date:    12/16/19                      Case Opener:                                      Date:
